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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION

       NINTENDO OF AMERICA INC.,
       a Washington corporation
                                                                       Case No. 1:13-cv-22813-KMW
                      Plaintiff,
                                                                       STIPULATED ORDER AND
              v.                                                       PERMANENT INJUNCTION

       ESTEPHANY VALLECILLO, a.k.a.
       Stephy Sanrio, d/b/a
       www.hackyourconsole.com

                      Defendant.




              Plaintiff Nintendo of America Inc. (“NOA”) and Defendant Estephany Vallecillo have

       agreed to a settlement of their dispute and stipulate to the entry of this Order and Permanent

       Injunction.

              It is hereby ORDERED:

              1.      This Court has jurisdiction over the parties and the subject matter of this action, and

       venue is proper in this Court. Defendant consents to the jurisdiction of this Court for the purpose

       of entering this Stipulated Order and Permanent Injunction.

              2.      NOA is a Washington corporation headquartered in Redmond, Washington. NOA

       is a wholly-owned subsidiary of Nintendo Co. Ltd. (“NCL”), a Japanese company headquartered

       in Kyoto, Japan (collectively, NOA and NCL are referred to herein as “Nintendo”).

              3.      Defendant Estephany Vallecillo (a.k.a. Stephy Sanrio) is an individual. Defendant

       Vallecillo previously did business in this District as www.HackYourConsole.com and
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              www.facebook.com/HackYourConsole (hereinafter “the Websites”). Through the

       Websites, Defendant Vallecillo was engaged in the businesses of: (a) importing, marketing, and

       trafficking in devices known as Game Copiers, (b) modifying Wii video game consoles to

       circumvent technological protection measures in the consoles, and (c) distributing unauthorized

       copies of copyrighted video games. Defendant Vallecillo represents and warrants that she has

       voluntarily ceased all such activities during the pendency of this lawsuit.

              4.      Nintendo produces a number of popular handheld video game systems including

       the Nintendo DS, Nintendo DS Lite, Nintendo DSi, and Nintendo DSi XL, as well as the Nintendo

       3DS and Nintendo 3DS XL (collectively, the “Nintendo handheld systems”). The Nintendo

       handheld systems are dual-screen handheld portable video game systems featuring a clamshell

       design with two LCD screens inside, the bottom one a touch screen. A user plays a video game on

       the Nintendo handheld systems by inserting an authorized game cartridge (referred to herein as

       “Nintendo Game Card”) into the Nintendo handheld system for game play or by downloading the

       game through Nintendo’s proprietary DSiWare service for the Nintendo DSi handheld system and

       the Nintendo eShop for the Nintendo 3DS system.

              5.      NOA does not authorize and has never authorized the copying or downloading of

       Nintendo video games onto devices, such as Game Copiers, that can mimic authorized Nintendo

       Game Cards and bypass the security measures that protect the Nintendo handheld systems and the

       rights of NOA as a copyright owner. NOA does not authorize and has never authorized Nintendo

       video games to be copied onto personal computers or to be downloaded from personal computers

       to devices like Game Copiers.

              6.      Nintendo and its authorized licensees have created and published many popular

       video games specifically and exclusively for play on Nintendo video game systems, referred to




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       herein as “Nintendo games.” Nintendo holds copyright and trademark rights in and to various

       Nintendo games, Nintendo video game systems, and video game characters, including, without

       limitation, those copyrights and trademarks listed on Exhibits A and B of Nintendo’s Complaint.

              7.      Defendant has imported, marketed, and trafficked in products that may be used to

       circumvent the technological security measures in the Nintendo handheld systems. These products

       include those sold under the brand names including, but not limited to, Acekard 2i, DSTWO, R4i

       Gold, R4i RTS Lite 20l3, R4i-SDHC 3DS RTS, and R4 SDHC Dual Core. These products are

       used to play pirated games on the Nintendo handheld systems, and are referred to herein as “Game

       Copiers.”

              8.      The Game Copiers that Defendant received and sold enable those who use them to

       download games to portable memory storage devices and to circumvent the technological

       measures employed by Nintendo to control access to its copyrighted works and to protect its rights

       as a copyright owner.

              9.      Game Copiers typically employ (1) a game card (referred to herein as the “Game

       Copier Card”) that is substantially the same shape, and has substantially the same electrical

       connection configuration, as a Nintendo Game Card, so that a Game Copier Card fits perfectly in

       the Nintendo handheld systems; and (2) a memory device that can hold multiple Nintendo games

       and that is inserted into the Game Copier Card for game play.

              10.     When so configured, Game Copiers can be used to bypass Nintendo’s

       technological security measures and gain the same access to the Nintendo handheld systems, and

       to certain of NOA’s copyrighted programs, as an authorized Nintendo Game Card. Because Game

       Copier cards can accommodate portable memory devices that hold enormous amounts of data,




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       hundreds of pirated games may be downloaded onto just one Game Copier card, enabling the user

       to play any of these pirated games on Nintendo handheld systems.

              11.     Game Copiers cause Nintendo great harm. Just one Game Copier enables the use

       of portable memory with storage capacities that allow the Game Copier to act as a vehicle to play

       hundreds of unauthorized copies of copyrighted Nintendo games. Game Copiers harm Nintendo’s

       goodwill, detract from Nintendo’s consumer base, and enable widespread illegal and undetectable

       copying.

              12.     Nintendo has never authorized any Game Copiers, and the specific brands of Game

       Copiers sold by Defendant were not authorized by Nintendo or on its behalf. Defendant has

       agreed to discontinue the sale of any such Game Copiers and to voluntarily submit to an injunction

       to give Nintendo future assurance that Defendant will not import, market, or traffic in Game

       Copiers in the future.

              13.     Defendant Vallecillo also provided a service to users of Nintendo’s Wii video game

       console (“Wii”) by which she modified the hardware and/or software on the Wii to circumvent the

       technological protection measures built into the console, and thereby allowed users to play

       unauthorized copies of video games on the Wii. Along with this service – known as Wii

       “modding” – Defendant made and distributed to customers “game bundles,” each of which

       contained hundreds of unauthorized copies of copyrighted videogames designed for play on the

       Wii.

              14.     The security systems in the Wii console and the Nintendo handheld systems are

       technological measures that effectively control access to a copyrighted work under sections

       1201(a) and 1201(b) of the DMCA. Game Copiers and Wii modding defeat the control over access

       to Nintendo’s copyrighted works that is exercised by these technological measures.




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              15.     Game Copiers and Wii modding are primarily designed for circumvention of

       technological measures that effectively control access to a copyrighted work (17 U.S.C. §§

       1201(a)(2)(A) and 1201 (b)(1)(A)), have limited commercially significant purpose other than such

       circumvention (satisfying sections 1201(a)(2)(B) and 12101(b)(1)(B)), and are marketed to be

       used for such circumvention (satisfying sections 1201(a)(2)(C) and 1201(B)(1)(C)).

              16.     Defendant’s Websites previously displayed certain of Nintendo’s registered

       trademarks and copyrights. In addition, the Websites incorporated Nintendo’s trademarked logo

       and characters. Defendant has agreed to discontinue, and has discontinued, any further use of the

       Websites, and to transfer ownership of the Websites to Nintendo.

              17.     As part of an overall settlement, Defendant agrees to be bound by an injunction

       defined as set forth below.

                                        PERMANENT INJUNCTION

              IT IS HEREBY ORDERED that Defendant, her officers, agents, servants, employees,

       attorneys, any persons involved in the operation of the websites www.HackYourConsole.com and

       www.facebook.com/HackYourConsole, and any other persons acting in active concert or

       participation with any of them who receive actual notice of this Permanent Injunction, be, and

       hereby are, immediately enjoined and restrained from:

              a)      Importing, manufacturing, offering to the public, providing, selling, or otherwise

       trafficking any technology, product, service, device, component or part thereof (including Game

       Copiers), that is primarily designed or produced to circumvent a technological measure that

       effectively protects NOA’s rights as a copyright owner, or controls access to any work in which

       NOA holds a registered copyright;

              b)      Importing, manufacturing, offering to the public, providing, selling, or otherwise




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        trafficking in any technology, product, service, device, component or part thereof (including

       Game Copiers), that has only limited commercially significant purpose or use other than to

       circumvent a technological measure that effectively protects NOA’s rights as a copyright owner,

       or controls access to any work to which NOA holds a registered copyright;

              c)      Importing, manufacturing, offering to the public, providing, using or otherwise

       trafficking in any technology, product, service, device, component or part thereof (including Game

       Copiers), that has ever been marketed by Defendant or others acting in concert with her for use in

       circumventing a technological measure that effectively protects NOA’s rights as a copyright

       owner, or controls access to any work to which NOA holds a registered copyright;

              d)      Using, or inducing or enabling others to use, any reproduction, counterfeit, copy,

       or colorable imitation of NOA’s trademarks, including those identified in Exhibit B of NOA’s

       Complaint, in any manner in connection with the manufacture, printing, distribution, advertising,

       offering for sale or sale of any goods or merchandise, including the use of Nintendo’s trademarks

       in connection with a website;

              e)      Using, or inducing or enabling others to use, NOA’s trademarks, including those

       identified in Exhibit B of NOA’s Complaint, or any reproduction, counterfeit, copy, or colorable

       imitation of said marks in any manner likely to cause others falsely to believe that Defendant’s

       products are connected with Nintendo or legitimate Nintendo products bearing NOA’s trademarks

       when they are not, including the use of Nintendo’s trademarks in connection with a website;

              f)      Using, or inducing or enabling others to use, any reproduction, counterfeit, copy,

       or colorable imitation of NOA’s copyrights, including those identified in Exhibit A of NOA’s

       Complaint, in any manner in connection with the manufacture, printing, distribution, advertising,

       offering for sale or sale of any goods or merchandise, including the use of Nintendo’s copyrights

       in connection with a website;




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              g)       Copying, distributing, or otherwise using any portion of NOA’s copyrighted

       software code or audiovisual works, or any derivative thereof, in any manner in the manufacture,

       assembly, distribution, advertisement, promotion, offering for sale, or sale of goods, services or

       merchandise;

              h)       Selling, distributing, lending, publicly performing or playing any unauthorized

       copy of any NOA copyrighted work;

              i)       Importing, exporting, shipping, delivering, distributing, transferring, returning,

       holding for sale, destroying, or otherwise moving, storing or disposing of any Game Copiers or

       any other item or product bearing or used to reproduce any unauthorized reproduction,

       counterfeit, copy or colorable imitation of NOA’s trademarks and/or NOA’s copyrights;

              j)       Destroying, transferring, altering, moving, returning, concealing, or in any manner

       secreting any and all Game Copiers, and any and all Documents and records relating or referring

       in any way to the importation, manufacturing, offering to the public, providing, using, or

       otherwise trafficking in Game Copiers;

              k)       Marketing, selling, importing, supplying or otherwise providing any product,

       device, or component thereof that contributes to or induces the copying of NOA’s copyrighted

       software; and

              l)       Unfairly competing with Nintendo.

       In addition, Defendant must within 30 days of this Order:

              a)       Provide to NOA every Game Copier in Defendant’s custody, possession or control,

       and ship or otherwise deliver all such Game Copiers to NOA for destruction, at NOA’s expense;

              b)       Provide NOA with copies of all documents in Defendant’s possession that regard

       or refer to Game Copiers; and

              c)       Transfer, or cause the relevant domain name registrar to transfer, or to cooperate in




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       the transfer by the domain name registrar to Nintendo, the ownership and control of the websites

       located at the URLs ww.HackYourConsole.com and www.facebook.com/HackYourConsole, with

       Nintendo paying any costs associated with such a transfer.



              DONE AND ORDERED At Miami, Florida, this ____ day of September, 2013.



                                                   _________________________________
                                                   UNITED STATES DISTRICT JUDGE

        cc: Counsel of Record




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